      Case 1:17-cv-11008-MLW Document 46 Filed 09/11/17 Page 1 of 1
         Case l:17-cv-11008-MLW Document 39 Filed 08/25/17 Page 1 of 3



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH,INC.,

                             Plaintiff,
                                                          Civil Action No.1:17-cv-11008-MLW



CELLTRION HEALTHCARE CO., LTD.,
CELLTRION,INC., and
HOSPIRA,INC.,

                              Defendants.




 ASSENTED-TO MOTION FOR LEAVE TO IMPOUND CONFIDENTIAL PORTIONS
               OF DEFENDANTS'MOTION TO DISMISS REPLY BRIEF




       Pursuant to Local Rule 7.2(d) and the Stipulated Protective Order (Dkt. 170) in Janssen

Biotech, Inc. v. Celltrion Healthcare Co., Ltd. et al. No. 15-10698 (D. Mass), Defendants

Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira, Inc. (collectively "Defendants"),

hereby move this Court for an Order to impound or otherwise seal Defendants' Reply Brief In
Support Of Their Motion To Dismiss For Lack Of Standing Motion to Dismiss ("Reply Brief)
(filed as C.A. No. 17-11008 Dkt. 38)on the ground this document contains or reveals Plaintiffs,
Defendants', or third parties' confidential and proprietary information.

       Defendants filed a publicly available, redacted version of the Reply Brief through the

electronic filing system.


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